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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                            Case No. 1:22-cr-20150

v.                                                           Honorable Thomas L. Ludington
                                                             United States District Judge
CORDARIUS CORTEZ BUFORD,
                                                             Honorable Patricia T. Morris
                  Defendant.                                 United States Magistrate Judge
________________________________________/

     ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING GUILTY
       PLEA, AND TAKING RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

        Magistrate Judge Patricia T. Morris conducted a plea hearing upon Defendant Cordarius

Cortez Burford’s consent. ECF No. 25. On February 13, 2023, Judge Morris issued an R&R

recommending that this Court accept Defendant’s guilty plea. ECF No. 27.

        Although Judge Morris said the Parties may object to and seek review of the R&R within

14 days of service, they have not filed any objections. They have therefore forfeited their right to

appeal Judge Morris’s findings that Defendant was competent to enter a plea and did so knowingly,

voluntarily, without coercion, and with a basis in fact. See FED. R. CRIM. P. 11(b); Berkshire v.

Dahl, 928 F.3d 520, 530–31 (6th Cir. 2019) (citing Thomas v. Arn, 474 U.S. 140, 149 (1985)).

        Accordingly, it is ORDERED that Judge Morris’s Report and Recommendation, ECF No.

27, is ADOPTED.

        Further, it is ORDERED that Defendant’s guilty plea is ACCEPTED, and the Rule 11

Plea Agreement, ECF No. 25, is TAKEN UNDER ADVISEMENT.


        Dated: March 1, 2023                                 s/Thomas L. Ludington
                                                             THOMAS L. LUDINGTON
                                                             United States District Judge
